Case 1:13-cr-00006-MAC-ZJH           Document 152        Filed 12/04/13      Page 1 of 1 PageID #:
                                            782




 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §           CASE NO. 1:13-CR-6
                                                  §
 DONALD ARTHUR VAUGHN                             §

          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          On this day, the court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Zack Hawthorn regarding the Defendant’s plea of guilty to Counts One

 and Ten of the Indictment in the above-numbered case. Having conducted a proceeding in the

 form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the

 court accept the guilty plea of the Defendant. The court is of the opinion that the Findings of Fact

 and Recommendation should be accepted.

          It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge are ADOPTED.

          It is further ORDERED that the Defendant’s guilty plea and the plea agreement are

 ACCEPTED by the court.

          It is finally ORDERED that the court finds the Defendant guilty on Counts One and Ten

 of the Indictment.


      Signed this date.
      Dec 4, 2013
